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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MICHAEL M. BECKWITH
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone:     (916) 554-2709
     Facsimile:     (916) 554-2900
 5
 6   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
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                        IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )   CASE NO. 2:12-CR-00294-TLN
                                            )
12                      Plaintiff,          )   AMENDED
                                            )   ORDER CONTINUING STATUS
13   v.                                     )   CONFERENCE AND FINDINGS
                                            )   REGARDING EXCLUDABLE TIME
14   BART WAYNE VOLEN,                      )   PURSUANT TO SPEEDY TRIAL ACT
     GREGORY SCOTT BAKER, and               )
15   DARRELL PATRICK HINZ,                  )   STATUS CONFERENCE: December 5,
                                            )   2013
16                      Defendants.         )
17
18        On August 6, the parties requested an exclusion of time Pursuant
19   to the Speedy Trial Act, citing the complexity of the case (Local
20   Code T2), the need for additional time to prepare (Local Code T4),
21   and the need to review over roughly 35,000 pages of additional
22   discovery (Local Code T4).
23        The Court has considered the parties’ stipulation and, based on
24   the filings in the case to date, finds that this case is complex in
25   nature.   It involves various fraud, tax, and money laundering
26   charges, as well as numerous civil forfeiture claims.
27        The Court hereby finds that the stipulation, which this Court
28   incorporates by reference into this Order, demonstrated facts that
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 1   support a continuance of the status conference date, and provides
 2   good cause for a finding of excludable time pursuant to the Speedy
 3   Trial Act, 18 U.S.C. § 3161.
 4        The Court further finds that: (i) the ends of justice served by
 5   the continuance outweigh the best interest of the public and
 6   defendant in a speedy trial; and (ii) failure to grant the
 7   continuance would be likely to make a continuation of the proceeding
 8   impossible, or result in a miscarriage of justice; and (iii) failure
 9   to grant the continuance would unreasonably deny counsel for the
10   defendant the reasonable time necessary for effective preparation.
11   THEREFORE, FOR GOOD CAUSE SHOWN:
12        1.      The status conference is continued to December 5, 2013,
13   9:30 a.m..
14        2.      The time period of August 8, 2013 to December 5, 2013,
15   inclusive, is excluded in computing the time within which the trial
16   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(iv)
17   (Local Code T4), and (h)(7)(B)(ii) (Local Code T2).
18        3.      Defendants shall appear in this Court on December 5, 2013,
19   unless a waiver of personal appearance has been filed with the court.
20        4.      Nothing in this Order shall preclude a finding that other
21   provisions of the Speedy Trial Act dictate that additional time
22   periods are excluded from the period within which trial must
23   commence.     The same provisions and/or other provisions of the Speedy
24   Trial Act may in the future authorize the exclusion of additional
25   time periods from the period within which trial must commence.
26        IT IS SO ORDERED.
27
     Dated:       August 6, 2013
28
                                                            Troy L. Nunley
                                                            United States District Judge
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